                            UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF TENNESSEE
                                 NASHVILLE DIVISION

UNITED STATES OF AMERICA                          )
                                                  )
v.                                                )      CASE NO. 3:12-00137-3
                                                  )      JUDGE SHARP
MELISSA DEMPSEY                                   )
                                                  )


                                         ORDER

        Pending before the Court is Defendant’s Motion to Continue Sentencing (Docket No.

147).

        The motion is GRANTED and the sentencing hearing set for September 30, 2013, is

hereby rescheduled for Monday, October 21, 2013, at 10:00 a.m.

        It is so ORDERED.



                                           KEVIN H. SHARP
                                           UNITED STATES DISTRICT JUDGE




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